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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

 

HELENA DIVISION
UNITED STATES OF AMERICA, CR 20-04-H-SEH
Plaintiff,
vs. FINAL ORDER OF FORFEITURE
COLTER JOSEPH EPLER,
Defendant.

 

 

This matter comes before the Court on the United States' Motion for Final
Order of Forfeiture. Having reviewed said motion, the Court FINDS:

1, The United States commenced this action pursuant to 18 U.S.C. §
924(d);

2. A Preliminary Order of Forfeiture was entered on June 25, 2020;

3. All known interested parties were provided an opportunity to respond
and that publication has been effected as required by 18 U.S.C. § 982(b)(1) and 21
U.S.C. § 853(n)(1); and

4. There appears there is cause to issue a forfeiture order under 18 U.S.C.

§ 924(d).
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ORDERED:

1. | The Motion for Final Order of Forfeiture is GRANTED.

2. Judgment of forfeiture of the following property shall enter in favor of
the United States pursuant to 18 U.S.C. § 924(d), free from the claims of any other
party:

e Bushmaster Firearms International, model XM15-E2S, .223-
5.56mm., rifle bearing serial number BFI507660;

e Glock, model 30, .45 caliber pistol, serial number PBL126;

¢ Glock, model 26, 9mm (9x19) caliber pistol, serial number
VTA767;

e Remington Arms Company, model 870 Tactical Magnum, 12
gauge shotgun, serial number AB222842M;

e Sturm, Ruger & Co., Inc, model Mark II, .22 caliber pistol, serial
number 224-79157; and

e Three (3) rounds, 12 gauge, Estate Cartridge ammunition; twenty
(20) rounds of 9mm ammunition, three (3) rounds of .45 caliber
ammunition, and forty (40) rounds of shotgun ammunition.

3. The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.
et
Dated this _ A/-—“day of October, 2020.

“SAM E. HADDON
United States District Judge
